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 Fill in this information to identify the case:
 Debtor name 1604 Sunset Plaza, LLC
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                         Check if this is an
                                                CALIFORNIA
 Case number (if known):         2:21-bk-19157-ER                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 DLJJ & Assoicates                                               Services                                                                                                  Unknown
 LLC                                                             Rendered
 1801 S. La Cienega
 Blvd. #301
 Los Angeles, CA
 90035
 Los Angeles                                                     Utility                Unliquidated                                                                      $10,626.49
 Department of Water
 and Power
 P.O. Box 30808
 Los Angeles, CA
 90030-0808
 SoCal Gas                                                       Utility                                                                                                   Unknown
 Centralized
 Correspondence
 P.O. Box 1626
 Monterey Park, CA
 91754-8626




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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             Case 2:21-bk-19157-ER                                         Doc 19 Filed 12/23/21 Entered 12/24/21 00:03:05                                                                     Desc
                                                                           Main Document     Page 5 of 35
 Fill in this information to identify the case:

 Debtor name            1604 Sunset Plaza, LLC

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)               2:21-bk-19157-ER
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        3,200,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $              5,868.36

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        3,205,868.36


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       22,723,093.08


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            10,626.49


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         22,733,719.57




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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              Case 2:21-bk-19157-ER                           Doc 19 Filed 12/23/21 Entered 12/24/21 00:03:05                                   Desc
                                                              Main Document     Page 6 of 35
 Fill in this information to identify the case:

 Debtor name          1604 Sunset Plaza, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-19157-ER
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     East West Bank                                         Business Checking                8924                                     $5,868.36




            3.2.     East West Bank                                         Business Checking                2405                                             $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                      $5,868.36
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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 Debtor         1604 Sunset Plaza, LLC                                                        Case number (If known) 2:21-bk-19157-ER
                Name

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used   Current value of
           property                                       extent of           debtor's interest       for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 1604 Sunset Plaza Dr.
                     Los Angeles, CA
                     90069
                     APN 5558 011 016                     100% Owner                   Unknown                                        $3,200,000.00




 56.       Total of Part 9.                                                                                                         $3,200,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
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 Debtor         1604 Sunset Plaza, LLC                                                       Case number (If known) 2:21-bk-19157-ER
                Name

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims
            A. Stuart Rubin, Annette Rubin, 1604 Sunset Plaza, LLC,
            Stuart Rubin and Annette Rubin, as Trustees of the
            Stuart and Annette Rubin FamilyTrust, dated 11/4/2003;
            and Elliot Lander, as Trustee of the Stuart Rubin
            Children’s Trust, dated 12/21/2001 vs. Preferred Bank
            Case No.: 21CV03982
            Pending in Superior Court of California - County of
            Santa Barbara                                                                                                                Unknown
            Nature of claim          Lawsuit - Civil
            Amount requested                              TBD



 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                               $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                                                                   Main Document     Page 9 of 35
 Debtor          1604 Sunset Plaza, LLC                                                                              Case number (If known) 2:21-bk-19157-ER
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $5,868.36

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $3,200,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                $5,868.36         + 91b.            $3,200,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,205,868.36




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 4
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             Case 2:21-bk-19157-ER                            Doc 19 Filed 12/23/21 Entered 12/24/21 00:03:05                                        Desc
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 Fill in this information to identify the case:

 Debtor name          1604 Sunset Plaza, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)              2:21-bk-19157-ER
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    East West Bank                                Describe debtor's property that is subject to a lien              $1,099,000.00             $3,200,000.00
        Creditor's Name                               1604 Sunset Plaza Dr.
        135 N. Los Robles Ave. 7 th                   Los Angeles, CA 90069
        Floor                                         APN 5558 011 016
        Pasadena, CA 91101
        Creditor's mailing address                    Describe the lien
                                                      Loan
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        2016                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.
        1. East West Bank
        2. Preferred Bank

 2.2    Preferred Bank                                Describe debtor's property that is subject to a lien            $21,624,093.08              $3,200,000.00
        Creditor's Name                               1604 Sunset Plaza Dr.
                                                      Los Angeles, CA 90069
        601 South Figueroa Street                     APN 5558 011 016
        Los Angeles, CA 90017
        Creditor's mailing address                    Describe the lien
                                                      Loan
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        2017                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply


Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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            Case 2:21-bk-19157-ER                             Doc 19 Filed 12/23/21 Entered 12/24/21 00:03:05                                       Desc
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 Debtor       1604 Sunset Plaza, LLC                                                            Case number (if known)         2:21-bk-19157-ER
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                       Disputed
       Specified on line 2.1

                                                                                                                         $22,723,093.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   08

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity
        Lenders Foreclosure Services
        2158 Durfee Ave                                                                                   Line   2.2
        South El Monte, CA 91733

        Maita Prout
        c/o East West Bank                                                                                Line   2.1
        135 N Los Robles Ave Ste 300
        Pasadena, CA 91101

        Michael E. Bubman
        Mirman, Bubman & Nahmias, LLP                                                                     Line   2.2
        21860 Burbank Boulevard, Suite 360
        Woodland Hills, CA 91367

        Preferred Bank
        1801 Century Park East Ste. 100                                                                   Line   2.2
        Los Angeles, CA 90067-2303

        Preferred Bank
        9350 Flair Drive Suite 425                                                                        Line   2.2
        El Monte, CA 91731




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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             Case 2:21-bk-19157-ER                            Doc 19 Filed 12/23/21 Entered 12/24/21 00:03:05                                                  Desc
                                                              Main Document    Page 12 of 35
 Fill in this information to identify the case:

 Debtor name         1604 Sunset Plaza, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)          2:21-bk-19157-ER
                                                                                                                                                      Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     Unknown
           DLJJ & Assoicates LLC                                              Contingent
           1801 S. La Cienega Blvd. #301                                      Unliquidated
           Los Angeles, CA 90035                                              Disputed
           Date(s) debt was incurred 2021
                                                                             Basis for the claim:    Services Rendered
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $10,626.49
           Los Angeles Department of Water                                    Contingent
           and Power                                                          Unliquidated
           P.O. Box 30808
                                                                              Disputed
           Los Angeles, CA 90030-0808
           Date(s) debt was incurred 2021
                                                                             Basis for the claim:    Utility
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     Unknown
           SoCal Gas                                                          Contingent
           Centralized Correspondence                                         Unliquidated
           P.O. Box 1626                                                      Disputed
           Monterey Park, CA 91754-8626
                                                                             Basis for the claim:    Utility
           Date(s) debt was incurred 2021
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the              Last 4 digits of
                                                                                                      related creditor (if any) listed?                    account number, if
                                                                                                                                                           any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 2
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            Case 2:21-bk-19157-ER                             Doc 19 Filed 12/23/21 Entered 12/24/21 00:03:05                                      Desc
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 Debtor       1604 Sunset Plaza, LLC                                                             Case number (if known)        2:21-bk-19157-ER
              Name

                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                          0.00
 5b. Total claims from Part 2                                                                       5b.   +   $                     10,626.49

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                        10,626.49




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
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                                                              Main Document    Page 14 of 35
 Fill in this information to identify the case:

 Debtor name         1604 Sunset Plaza, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-19157-ER
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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            Case 2:21-bk-19157-ER                             Doc 19 Filed 12/23/21 Entered 12/24/21 00:03:05                          Desc
                                                              Main Document    Page 15 of 35
 Fill in this information to identify the case:

 Debtor name         1604 Sunset Plaza, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-19157-ER
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Stuart Rubin                      715 North Alpine Drive                           Preferred Bank                  D        2.2
                                               Beverly Hills, CA 90210                                                           E/F
                                                                                                                                G



    2.2      The Stuart and                    715 North Alpine Drive                           Preferred Bank                  D        2.2
             Annette Rubin                     Beverly Hills, CA 90210                                                           E/F
             Family Trust
                                                                                                                                G
             UAD 11/3/2003




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 Fill in this information to identify the case:

 Debtor name         1604 Sunset Plaza, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-19157-ER
                                                                                                                                          Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                                   $59,000.00
       From 1/01/2021 to Filing Date
                                                                                                Other      Rental Income

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
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    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
    a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    1604 Sunset Plaza LLC vs.                        Civil                      Superior Court of California                Pending
               East West Bank; First                                                       Los Angeles County                          On appeal
               American Title Insurance                                                    111 N Hill St.                                Concluded
               Company                                                                     Los Angeles, CA 90012
               21STCV22169

       7.2.    1604 Sunset Plaza, LLC vs.                       Civil                      Superior Court of California                Pending
               East West Bank; First                                                       County of Los Angeles                       On appeal
               American Title Insurance                                                    111 N Hill St.                                Concluded
               Company                                                                     Los Angeles, CA 90012
               21STCV22223

       7.3.    A. Stuart Rubin, Annette                         Civil                      Superior Court of California                Pending
               Rubin, 1604 Sunset Plaza,                                                   County of Santa Barbara                     On appeal
               LLC, Stuart Rubin and                                                       1100 Anacapa St,.                             Concluded
               Annette Rubin, as Trustees of                                               Santa Barbara, CA 93101
               the Stuart and Annette Rubin
               FamilyTrust, dated 11/4/2003;
               and Elliot Lander, as Trustee
               of the Stuart Rubin Children’s
               Trust, dated 12/21/2001 vs.
               Preferred Bank; SIS
               Associates, Inc., dba Lender's
               Foreclosure Services
               20CV03206 (Dismissed)

       7.4.    A. Stuart Rubin, Annette                         Civil                      Superior Court of California                  Pending
               Rubin, 1604 Sunset Plaza,                                                   County of Santa Barbara                     On appeal
               LLC, Stuart Rubin and                                                       1100 Anacapa St.
                                                                                                                                       Concluded
               Annette Rubin, as Trustees of                                               Santa Barbara, CA 93101
               the Stuart and Annette Rubin
               FamilyTrust, dated 11/4/2003;
               and Elliot Lander, as Trustee
               of the Stuart Rubin Children’s
               Trust, dated 12/21/2001 vs.
               Preferred Bank
               21CV03982

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8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                Dates given                        Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss         Value of property
       how the loss occurred                                                                                                                                lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.    Arent Fox LLP
                555 West Fifth Street, 48th
                Floor
                Los Angeles, CA 90013-1065                           See employment application.                               12/9/2021             $100,000.00

                Email or website address
                arentfox.com

                Who made the payment, if not debtor?
                CRG Investment MGMT LLC



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                 Dates transfers          Total amount or
                                                                                                                       were made                         value

13. Transfers not already listed on this statement
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    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was               Last balance
                Address                                         account number            instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


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       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None
       Owner's name and address                                      Location of the property             Describe the property                            Value
       One or more non-Debtor affiliates.                            1604 Sunset Plaza Dr.                Miscellaneous furniture and                Unknown
                                                                     Los Angeles, CA 90069                art owned by non-debtor
                                                                                                          party.


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
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       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Jeff Bazyler, CPA                                                                                                          2019-current
                    Jeff Bazyler & Associates
                    1000 Wilshire Blvd Ste 1660
                    Los Angeles, CA 90017
       26a.2.       Scott Eisner, CPA                                                                                                          2019-2020
                    225 S Lake Ave Suite 400
                    Pasadena, CA 91101

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Jeff Bazyler, CPA                                                                                                          2019-current
                    Jeff Bazyler & Associates
                    1000 Wilshire Blvd Ste 1660
                    Los Angeles, CA 90017
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       Scott Eisner, CPA                                                                                                          2019-2020
                    225 S Lake Ave Suite 400
                    Pasadena, CA 91101

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Jeff Bazyler, CPA                                                                        2019-current
                    1000 Wilshire Blvd Ste 1660
                    Los Angeles, CA 90017
       26c.2.       Scott Eisner, CPA                                                                        2019-2020
                    225 S Lake Ave Suite 400
                    Pasadena, CA 91101

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial

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          statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       DLJJ & Associates, LLC                         1802 So. La Cienega Blvd.                           Manager                               0%
                                                      Los Angeles, CA 90035

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       The Stuart and Annette                         715 North Alpine Drive                              Member and Manager                    100%
       Rubin Family Trust                             Beverly Hills, CA 90210
       UAD 11/3/2003


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
       Yes. Identify below.
               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation



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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Central District of California
 In re       1604 Sunset Plaza, LLC                                                                           Case No.      2:21-bk-19157-ER
                                                                                   Debtor(s)                  Chapter       11

              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S) - AMENDED
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
            For legal services, I have agreed to accept                                                  $                 +RXUO\

              Prior to the filing of this statement I have received                                       $                    
              Balance Due                                                                                 $                       1$

2.     The source of the compensation paid to me was:

               Debtor                   Other (specify):           CRG Investment MGMT LLC. See employment application.

3.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.    [Other provisions as needed]
                  See Application for an Order Authorizing the Employment of Arent Fox LLP as General Bankruptcy and
                  Retructuring Counsel for the Debtors and Debtors-in Possession, Effective as of December 9, 2021 [Dkt no. 17]
                  ("Employment Application").

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.
         12/23/2021                                                                 /s/ M. Douglas Flahaut
     Date                                                                          M. Douglas Flahaut
                                                                                   Signature of Attorney
                                                                                   Arent Fox LLP
                                                                                   555 West Fifth Street, 48th Floor
                                                                                   Los Angeles, CA 90013-1065
                                                                                   213.629.7400 Fax: 213.629.7401
                                                                                   Douglas.Flahaut@arentfox.com
                                                                                   Name of law firm




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  12/23/2021                             /s/ M. Douglas Flahaut
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                        1604 Sunset Plaza, LLC
                        1801 So. La Cienega Blvd. #301
                        Los Angeles, CA 90035


                        M. Douglas Flahaut
                        Arent Fox LLP
                        555 West Fifth Street, 48th Floor
                        Los Angeles, CA 90013-1065


                        DLJJ & Assoicates LLC
                        1801 S. La Cienega Blvd. #301
                        Los Angeles, CA 90035


                        East West Bank
                        135 N. Los Robles Ave. 7 th Floor
                        Pasadena, CA 91101


                        Lenders Foreclosure Services
                        2158 Durfee Ave
                        South El Monte, CA 91733


                        Los Angeles Department of Water
                        and Power
                        P.O. Box 30808
                        Los Angeles, CA 90030-0808


                        Maita Prout
                        c/o East West Bank
                        135 N Los Robles Ave Ste 300
                        Pasadena, CA 91101


                        Michael E. Bubman
                        Mirman, Bubman & Nahmias, LLP
                        21860 Burbank Boulevard, Suite 360
                        Woodland Hills, CA 91367
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                    Preferred Bank
                    601 South Figueroa Street
                    Los Angeles, CA 90017


                    Preferred Bank
                    1801 Century Park East Ste. 100
                    Los Angeles, CA 90067-2303


                    Preferred Bank
                    9350 Flair Drive Suite 425
                    El Monte, CA 91731


                    SoCal Gas
                    Centralized Correspondence
                    P.O. Box 1626
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                    Stuart Rubin
                    715 North Alpine Drive
                    Beverly Hills, CA 90210


                    The Stuart and Annette Rubin Family
                    Trust UAD 11/3/2003
                    715 North Alpine Drive
                    Beverly Hills, CA 90210
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Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
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     Attorney for: Debtor
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.: 2:21-bk-19157-ER
         1604 Sunset Plaza, LLC                                               ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 11

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Annette Rubin                                                           , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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 8    Proposed General Bankruptcy and Restructuring
      Counsel for Debtor and Debtor-in-Possession
 9
10                           UNITED STATES BANKRUPTCY COURT
11                            CENTRAL DISTRICT OF CALIFORNIA
12                                   LOS ANGELES DIVISION
13
     In re
14                                                    Case No. 8:21-bk-12276-SC
     1604 SUNSET PLAZA, LLC, a California
15   limited liability company,                       Chapter 11
16              Debtor and Debtor-in-Possession.
                                                      END NOTES REGARDING SCHEDULES
17                                                    AND STATEMENT OF FINANCIAL
18                                                    AFFAIRS

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 1        END NOTES REGARDING SCHEDULES OF ASSETS AND LIABILITIES AND
                       STATEMENT OF FINANCIAL AFFAIRS
 2
 3   Overview of Schedules and SOFA
 4           The above-captioned debtor and debtor-in-possession 1604 Sunset Plaza, LLC (the

 5   “Debtor”), is filing its Schedules of Assets and Liabilities (the “Schedules”) and Statement of

 6   Financial Affairs (the “SOFA”) in the above-captioned case. These Notes Regarding the Debtor’s

 7   Schedules and SOFA pertain to, are incorporated by reference in, and comprise an integral part of

 8   all of the Debtor’s Schedules and SOFA. They should be referred to, considered, and reviewed in

 9   connection with any review of the Schedules and SOFA. In the event that the Schedules or SOFA

10   differ from anything contained in these Notes, these Notes shall control.

11           On December 9, 2021 (the “Petition Date”), the Debtor filed its voluntary petition for relief

12   under Chapter 11 of the Bankruptcy Code. The Debtor is operating its business as a debtor-in-

13   possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. Unless otherwise

14   specified, the asset information provided herein represents the best available asset data as of the

15   close of business on December 9, 2021. The liability information represents the best available

16   liability data of the Debtor as of the close of business on December 9, 2021.

17           The Schedules and SOFA do not purport to represent financial statements prepared in

18   accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor

19   are they intended to be fully reconciled with the financial statements of the Debtor. Additionally,

20   the Schedules and SOFA contain unaudited information that is subject to further review, potential

21   adjustment, and reflect the Debtor’s best commercially reasonable efforts to report the assets and

22   liabilities of the Debtor.

23           In preparing and Schedules and SOFA, the Debtor relied on financial information derived

24   from its books and records available at the time of such preparation. While reasonable efforts have

25   been made to provide accurate and complete information, inadvertent errors and omissions may

26   exist and the Debtor acknowledges its ongoing duty to update or revise these schedules if it becomes

27   appropriate. The Debtor’s Manager, Annette Rubin, in her capacity as Trustee of the Stuart and

28   Annette Rubin Family Trust UAD 11/3/2003, has signed each of the Schedules and the SOFA. Ms.

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 1   Rubin is familiar with the day-to-day operations, business, and financial affairs of the Debtor and
 2   she (as trustee of the Stuart and Annette Rubin Family Trust UAD 11/3/2003) is an authorized
 3   signatory for the Debtor. In reviewing and signing the Schedules and SOFA, Ms. Rubin has relied
 4   upon the efforts, statements, and representations of various personnel of the Debtor and its advisors.
 5   Ms. Rubin has not personally verified the accuracy of each statement and representation contained
 6   in the Schedules and SOFA, including statements and representations concerning amounts owed to
 7   creditors, classification of such amounts, and creditor addresses. Ms. Rubin has reviewed the
 8   Schedules and SOFA carefully, however, and believes them to be accurate.
 9           Debtor’s proposed counsel was retained on December 9, 2021, and it is in the process of
10   investigating the Debtor’s assets and liabilities. Reasonable efforts have been made to prepare and
11   file complete and accurate Schedules and SOFA; however, inadvertent errors or omissions may
12   exist. The Debtor reserves all rights to (i) amend or supplement the Schedules and/or SOFA from
13   time to time, in all respects, as may be necessary or appropriate, including the right to re-
14   characterize, reclassify, recategorize, redesignate, add, or delete items reported in the Schedules or
15   SOFA at a later time as is necessary or appropriate as additional information becomes available,
16   including, without limitation, whether contracts or leases listed herein were deemed executory or
17   unexpired as of the Petition Date and remain executory and unexpired post-petition.
18   Specific Notes with Respect to the Debtor’s Schedules of Assets and Liabilities
19           The Schedules neither purport to represent financial statements prepared in accordance with
20   GAAP, nor are they intended to be fully reconciled with any financial statements of the Debtor.
21   Additionally, the Schedules contain unaudited information that is subject to further review and
22   potential adjustment, and reflect the Debtor’s reasonable best efforts to report the assets and
23   liabilities of the Debtor. Moreover, given, among other things, questions about the characterization
24   of certain assets and the valuation and nature of certain liabilities, nothing herein is an admission
25   that such Debtor was solvent or insolvent as of the Petition Date or at any time before the Petition
26   Date.
27   1.      Schedule A/B, Part 1, Question 3 - Checking, savings, money market, or financial
28           brokerage accounts

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 1          The amount listed for the Debtor’s pre-petition bank accounts at East West Bank (Account
 2          Numbers ending. 8924 and 2405) in the aggregate amount of $5,868.36 is as of November
 3          30, 2021. The Debtor has requested from East West Bank its December statement to
 4          determine the amount remaining in each account at close of business on the date the
 5          bankruptcy petition was filed.
 6   2.     Schedule A/B, Part 11, Question 74 – Causes of action against third parties
 7          The Debtor only listed active affirmative litigation on the Schedules. Despite making
 8          commercially reasonable efforts to identify all known litigation matters, the Debtor may not
 9          have listed all of its causes of action or potential causes of action against third-parties as
10          assets in the Schedules and SOFA, including, without limitation, causes of actions arising
11          under the provisions of Chapter 5 of the Bankruptcy Code and any other relevant non-
12          bankruptcy laws to recover assets or avoid transfers. The Debtor reserves all rights with
13          respect to any cause of action (including avoidance actions), controversy, right of setoff,
14          cross-claim, counterclaim, or recoupment and any claim on contracts or for breaches of
15          duties imposed by law or in equity, demand, right, action, lien, indemnity, guaranty, suit,
16          obligation, liability, damage, judgment, account, defense, power, privilege, license, and
17          franchise of any kind or character whatsoever, known, unknown, fixed or contingent,
18          matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or
19          undisputed, secured or unsecured, assertable directly or derivatively, whether arising
20          before, on, or after the Petition Date, in contract or in tort, in law or in equity, or pursuant
21          to any other theory of law.
22   3.     Schedule D, Part 1, Question 2.2 – List of Creditors Who Have Secured Claims
23          With respect to Preferred Bank, the claim is listed as disputed,” “contingent,” and
24          “unliquidated” and the amount listed therein does not constitute an admission of liability by
25          the Debtor. It is the Debtor’s position that the claim is subject to disallowance; it is cross-
26          collateralized with non-estate assets including that certain valuable property located at 4347
27          Marina Drive, Santa Barbara, California, and 715 N. Alpine Dr., Beverly Hills, California.
28          The claim is subject to a pending breach of contract action, styled as Rubin et al. v. Preferred

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 1          Bank et al, Case No. 21CV03982, and a pending adversary proceeding styled as 1604 Sunset
 2          Plaza, LLC v. Preferred Bank and Lenders Foreclosure Services, Adv. No. 2:21-ap-01245-
 3          ER, and nothing contained in the Schedules or SOFA shall constitute a waiver of rights with
 4          respect to the Debtor’s Chapter 11 case, including, without limitation, issues involving
 5          claims, defenses, equitable subordination, and/or causes of action arising under the
 6          provisions of Chapter 5 of the Bankruptcy Code and any other relevant non-bankruptcy
 7          laws to recover assets or avoid transfers. Moreover, on December 10, 2021 the Debtor
 8          understands that Preferred Bank credit bid $9.2 million of its secured claim at a foreclosure
 9          sale of the 715 N. Alpine Dr. property such that notwithstanding anything else, the
10          obligation owed to Preferred Bank, if any, should be reduced by such amount.
11   4.     Schedule H, Question 2 – Codebtors
12          The Debtor is in the process of investigating the extent to which additional persons may be
13          liable on the debts listed in Schedule D and Schedule E/F, and if discovered, the Debtor will
14          supplement Schedule H accordingly.
15   5.     SOFA, Part 1, Question 1 – Gross Revenue from Business
16          The Debtor is in the process of reviewing its Profit & Loss Statement and other records to
17          determine the amount of rental income for the period from January 1, 2021 to the Petition
18          Date, but believes that rental income was approximately $59,000 for the relevant period.
19   6.     SOFA, Part 2, Question 21 – Property the Debtor Holds or Controls that the Debtor
20          Does Not Own
21   7.     The Debtor is in the business of short term and long term rentals. Its rental property is fully
22          staged and furnished with furniture and other personal property owned by non-Debtor
23          affiliates. The Debtor is in the process of compiling an itemized list of such items, and it
24          will supplement the SOFA shortly.
25   8.     SOFA, Part 2, Question 3 – Certain Payments or Transfers to Creditors Within 90
26          Days Before Filing this Case
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 1          The Debtor is in the process of obtaining its prepetition bank statements from East West
 2          Bank and will amend its SOFA to the extent it discovers any additional transfers to creditors
 3          in aggregate value of more than $6,825.
 4   9.     SOFA, Part 2, Question 4 – Certain Payments or Transfers to Insiders Within 1
 5          Year Before Filing this Case
 6          The Debtor is in the process of obtaining its prepetition bank statements from East West
 7          Bank and will amend its SOFA to the extent any transfer to an insider in aggregate value of
 8          more than $6,825 is discovered.
 9   END OF NOTES
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